EXHIBIT 4
From: Josh Weiner

Sent: Thursday, July 8, 2021 9:43 AM

To: Jeff Silver' <jeffreysilver@silver-law.net>

Cc: Amy Gallent <AmyGallent@Catalinare.com>

Subject: FW: American Employers/Pennsylvania Insurance Co Obligations

Mr. Silver,
This is the third email.

Thanks,
Josh

Joshua Weiner
Vice President, Claims Counsel
Catalina U.S. Insurance Services LLC

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From: Josh Weiner

Sent: Thursday, July 8, 2021 9:41 AM

To: ‘Jeff Silver’ <jeffreysilver@silver-law.net>

Cc: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Mr. Silver,

Per your request, and as we understand Pennsylvania Insurance Company has agreed to be bound by the Kentucky
Protective Order, please find attached the documents.

We look forward to hearing from you regarding the tenders.

1
As before, | have broken up the documents into multiple PDFs because of size restrictions. Please let me know if you
have any further questions.

Thanks,
Josh

Joshua Weiner
Vice President, Claims Counsel
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From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Monday, June 28, 2021 1:57 PM

To: Josh Weiner <joshweiner @Catalinare.com>

Cc: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations (4 of 4)

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As we continue our review under a full reservation of rights, in the
Bedivere/Triangle/Sparta/Great American litigation, we do not have any of
the exhibits referred to in the various pleadings including any of the
insurance policies issued by American Employers’ Insurance Company.

Please forward all of those exhibits to my attention at your earliest
opportunity.

From: Josh Weiner <joshweiner@Catalinare.com>

Sent: Wednesday, June 23, 2021 2:50 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: FW: American Employers/Pennsylvania Insurance Co Obligations (4 of 4)

Here you go.

Joshua Weiner
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From: Josh Weiner

Sent: Wednesday, June 23, 2021 12:02 PM

To: ‘jeffreysilver@silver-law.net' <jeffreysilver @silver-law.net>

Subject: American Employers/Pennsylvania Insurance Co Obligations (4 of 4)

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Mr. Silver,

Following up on the email correspondence below between you and Amy Gallent, please find attached 14 tenders for
defense and indemnity that SPARTA Insurance Company (“SIC”) has received from Triangle Enterprises, Inc. Pursuant to
the 2005 Transfer and Assumption Agreement between American Employers Insurance Company (“AEIC”) and
Pennsylvania General Insurance Company (“PGIC”), and the subsequent 2007 Stock Purchase Agreement between SIC’s
predecessor, SPARTA Insurance Holdings, and PGIC, these claims are not the responsibility of SIC and are appropriately
the responsibility of Pennsylvania Insurance Company, as successor to PGIC.

The following claims have already been forwarded to Armour Risk Management (“Armour”):

e Ausby Garrard & Martha Garrard v. Triangle Enterprises, Inc., 21-L-606 (Madison Cty., IL, 2021)
e Charlie King v. Triangle Enterprises, Inc., 21-L-448 (St. Clair Cty., IL, 2021)

e Dixie Lou Carney v. Triangle Enterprises, Inc., 20-L-1021 (St. Clair Cty., IL, 2021)

e Jeffrey Glasow & Kathryn Glasow v. Triangle Enterprises, Inc., 21-L-177 (Madison Cty., IL, 2021)
e Steven Hosler v. Triangle Enterprises, Inc., 21-L-177 (St. Clair Cty., IL, 2021)

e David Latshaw v. Triangle Enterprises, Inc., 2021-L-0071 (St. Clair Cty., IL, 2021)

e Rethel Lowe & Theresa Lowe v. Triangle Enterprises, Inc., 21-L-57 (St. Clair Cty., IL, 2021)

e Susan Lockhart-Stirland v. Triangle Enterprises, Inc., 2122-CC00428 (St. Louis City., MO, 2021)
e Pamela Rud v. Triangle Enterprises, Inc., 21-L-286 (Madison Cty., MO, 2021)

e Dennis French & Holy French v. Triangle Enterprises, Inc., 21-L-320 (St. Clair Cty., IL, 2021)

e Jackie Williams & Sue Williams v. Triangle Enterprises, Inc., 20-L-853 (St. Clair Cty., IL, 2021)

e Lome Alexander v. Triangle Enterprises, Inc., 21-L-76 (Madison Cty., IL, 2021)

e Rose Eads et al. v. Triangle Enterprises, Inc., 20-L-243 (St Clair Cty., IL, 2021)

e Urana Wold v. Triangle Enterprises, Inc., 2021-L-0338 (St Clair Cty., IL, 2021)

In addition, there are also two coverage cases, where SIC was sued directly by a third party as a result of alleged
liabilities arising out of policies issued by AEIC. These matters include Triangle Enterprises, Inc. v. SPARTA Insurance
Company F/K/A American Employers’ Insurance Company, 17-Cl-522 (McCracken, KY, 2021); and Great American E&S
Insurance Company v. SPARTA Insurance Company F/K/A American Employers’ Insurance Company, 17-Cl-00522
(McCracken, KY, 2021). We continue to receive filings on some of the matters, in particular the diocese cases, and need
your confirmation that PIC will take over the handling and payment of these claims.

It has been over three weeks since we advised you about these matters and requested that you handle them as well as
the AEIC claims that Armour Risk Management (“ARM”) had been managing and paying prior to Bedivere going into
liquidation. As previously requested, please confirm that PIC has accepted financial and management responsibility for
these tenders and the AEIC claims currently in ARM’s possession, and will pay these claims. Please also provide contact
information for the person or entity to which SIC should forward these types of claims in the ordinary course, should SIC
continue to receive them. It is important that SIC receive this information as soon as possible given the time-sensitive
obligations associated with these and other claims.

Given the time-sensitive nature of this issue, if we do not hear back from you that PIC will handle and pay these claims,
we will continue to protect SIC’s interests and look to PIC for reimbursement of any expenses, as relayed in Amy
Gallent’s June 1 email to you.

Thank you.

Regards,
Josh
Joshua Weiner
Vice President, Claims Counsel
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From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Monday, June 14, 2021 2:58 PM

To: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

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Thanks for your e-mail.

| can assure you that Pennsylvania Insurance Company never adjusted
AEIC or Sparta claims after we bought Pennsylvania Insurance Company
f/k/a Pennsylvania General Insurance Company from OneBeacon as a
clean shell on October 1, 2012.

Our investigation continues.

From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Monday, June 14, 2021 12:59 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Jeff-
Thanks for your email.

AEIC claims and liabilities were fully, absolutely and unequivocally transferred to and assumed by
Pennsylvania General Insurance Company (PGIC) (now known as Pennsylvania Insurance Company
(PIC)), before the sale of AEIC to SPARTA in 2007. The AEIC claims and liabilities were fully
guaranteed by OBIC (whose parent, of course, was OBIG which is now Intact Specialty).

SPARTA never handled, managed, or paid any AEIC claims or suits. Claims and suits were always,
without exception, handled, managed and paid by PGIC, OBIC, OBIG and later by Bedivere, either
directly or through TPAs (including Resolute Management and Armor Risk Management) working for
and at the direction of these responsible entities.

Amy
Amy Gallent
U.S. General Counsel
(ORV RYB tnt Catalina U.S. Insurance Services LLC

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From: Jeff Silver <jeffreysilver @silver-law.net>

Sent: Friday, June 11, 2021 10:36 AM

To: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

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No problem.

From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Friday, June 11, 2021 9:09 AM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Jeff-

| should be in a position to respond to your request early next week. Over the years we have dealt with a
number of different parties so we will need to gather that information.

Have a good weekend.

Amy
Amy Gallent
U.S. General Counsel
‘ORV a hen Catalina U.S. Insurance Services LLC

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From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Friday, June 11, 2021 8:18 AM

To: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

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Amy:

As we continue to review, how were claims handled over the last years with
your company since obviously Pennsylvania Insurance Company was not
involved in any way.

Your early response is appreciated.

Jeff Silver
From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Monday, June 7, 2021 1:58 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: American Employers/Pennsylvania Insurance Co Obligations

Mr. Silver-
Thank you for your email.

Attached, as requested, is the Transfer and Assumption Agreement (the “T&AA”) between American
Employers Insurance Company (AEIC) and Pennsylvania General Insurance Company (PGIC) (which we
understand was renamed Pennsylvania Insurance Company in 2012) transferring the liabilities from AEIC to
PGIC, dated June 15, 2005. Sparta Insurance Holdings acquired the clean AEIC shell in 2007 from PGIC and
renamed it SPARTA Insurance Company (SIC). Also attached is the Stock Purchase Agreement among PGIC,
OneBeacon Insurance Company (“OBIC’”), as Guarantor, and Sparta Insurance Holdings, Inc., dated March
12, 2007, which we attach as it includes an indemnity by PGIC against any failure by PGIC to perform any of
its obligations under the T&AA.

Finally, attached please find a Transfer and Assumption Agreement between OBIC and PGIC, dated Oct. 1,
2012.

We look forward to your response once you have had an opportunity to review the attached.

Amy Gallent
Amy Gallent
U.S. General Counsel
[ORV VB Rn Catalina U.S. Insurance Services LLC

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From: Jeff Silver <jeffreysilver@silver-law.net>

Sent: Sunday, June 6, 2021 9:22 AM

To: Amy Gallent <AmyGallent@Catalinare.com>

Subject: RE: American Employers/Pennsylvania Insurance Co Obligations

Warning: External email, use care with links & attachments

As we continue to review this matter, please provide the assignment from Pennsylvania Insurance Company to its parent
that you referred to in the below e-mail and any other relevant documents because current ownership of Pennsylvania
Insurance Company acquired it in June 2012 as aclean shell and has never heard of American Employers’ Ins. Co.

until approximately 30 days ago.

From: Amy Gallent <AmyGallent@Catalinare.com>

Sent: Friday, May 28, 2021 2:54 PM

To: Jeff Silver <jeffreysilver@silver-law.net>

Subject: American Employers/Pennsylvania Insurance Co Obligations

Dear Mr. Silver,
Pursuant to the Transfer and Assumption agreement entered into between Pennsylvania General Insurance
Company, now known as Pennsylvania Insurance Company (PIC), and American Employers’ Ins. Co. (AEIC),
now known as SPARTA Insurance Company (SIC), we write to confirm that PIC - which for 16 years has either
handled the AEIC claims itself or by virtue of an assignment to its then parent - will continue to honor its
obligations and assume, handle, and pay all claims. The Chief Liquidation Officer (CLO) of Bedivere Insurance
Company in Liquidation (BIC) has informed us that he has duly tendered all claims that arise from the AEIC
policies that BIC had been managing and paying on behalf of PIC pursuant to a reinsurance agreement
between BIC’s predecessor, One Beacon Insurance Company, and PIC.

SIC has been directly named and served in the following matters: (i) Bedivere Ins. Co. v. Triangle Enterprises,
Inc., No 17-Cl-00522, McCracken, KY Circuit Court; (ii) Roman Catholic Diocese of Syracuse v. Arrowpoint
Cap. et al., Case No 20-30663-5-mcer, Adv. Pro. 21-50002-5-mcr, US Bkcy. Ct. WDNY; and (iii) In re Diocese
of Buffalo, Case No. 20-10322 CLB, Adv. Pro. 21-01001, US Bkcy. Ct. WDNY; (iv) Missouri Department of
Labor and Industrial Relations Division of Workers’ Compensation claim, injury number 18-111944. SIC has
retained DLA Piper to protect SIC’s interest in the liquidation proceedings and all related matters. DLA has
obtained an extension to respond to Triangle's third party complaint through and including July 2, 2021. A copy
of DLA's confirmatory letter is attached. SIC has not yet been served with Great American's third party
complaint in the Triangle action. Filings in the Triangle and Great American actions are under seal and subject
to a protective order. We will provide the Triangle filings to you upon confirmation that they will be protected
under the terms of the protective order. We will provide the Great American filings to you once we are served
with them and confirm that they too will be protected under the order.

In the two bankruptcy coverage matters referenced above, we understand that there is a stay until June 2,
2021, and in the WC matter a response is required by June 16, 2021.

SIC has also been advised that the CLO of BIC has demanded that PIC establish an imprest account with
Armour Risk Management (ARM) by June 7, 2021, so that the WC claims for which PIC is responsible can
continue to be funded. We have also been informed that PIC is in discussions with ARM to continue managing
these claims and all other related claims on behalf of PIC.

We would be grateful if you would acknowledge receipt of this e-mail. Please also confirm within the
timeframes noted above that PIC will continue to protect SIC’s interest, and manage and pay claims as it is
obligated to do under the relevant agreements.

Thank you very much. Have a good weekend.

Amy Gallent
Amy Gallent
U.S. General Counsel
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